
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-03-497-CR





JONATHON SAMUEL PORTALES						APPELLANT

V.

THE STATE OF TEXAS	STATE

----------

FROM CRIMINAL
 
DISTRICT COURT NO. 1 OF TARRANT COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered appellant's “Motion To Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
 Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.;
 
Tex. R. App. P.
 43.2(f).

PER CURIAM

PANEL D:	CAYCE, C.J.; &nbsp;LIVINGSTON and DAUPHINOT, JJ.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: May 27, 2004

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




